           Case 23-10589-CLC       Doc 38     Filed 07/07/23    Page 1 of 2




              IN THE UNITED STATES BANKRUPTCY COURT FOR
                      [DISTRICT] DISTRICT OF [STATE]
               SOUTHERN                       FLORIDA
                  MIAMI    [DIVISION] DIVISION

In re
                                                          In Chapter [Ch]
                                                                     7 Proceeding
[Debtor 1 Name]
SEAN GAETE                                                Case No. [Case  Number]
                                                                   23-10589
[Debtor 2 Name]

                                         Debtors.


             REQUEST TO DISCONTINUE SERVICE OF NOTICES

          PLEASE TAKE NOTICE that [Client     Client
                                        Synchrony    Client] c/o PRA Receivables
                                                  Bank
   Management, LLC hereby withdraws its Request for Special Notice filed on
   [RFN  File Date] Docket Number [10].
   1/26/2023                      9



                           th
         Dated: This [Day]
                     7        day of [Month],
                                     July     [Year]
                                              2023




                                                    By:   /s/Valerie Smith
                                                          Valerie Smith
                                                          PRA Receivables Management, LLC
                                                          PO Box 41021
                                                          Norfolk, VA 23541
                                                          TEL: (877) 885-5919
                                                          FAX: (757) 351-3257
              Case 23-10589-CLC           Doc 38      Filed 07/07/23       Page 2 of 2




                                    Certificate of Service
           I hereby certify that a copy of the foregoing was served electronically to the following
parties:


[Attorney Name]
 JOSE SABATIER
Attorney

[Trustee
ROSS RName]
          HARTOG
Chapter [Ch]
        7 Trustee


                              th
            Dated: This [Day]
                        7        day of [Month],
                                        July     [Year]
                                                 2023



                                                           By:     /s/Valerie Smith
                                                                  Valerie Smith
                                                                  PRA Receivables Management, LLC
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